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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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                                                                 :
  SDN LIMITED and STEVEN NEYAROFF,                               :
                                                                 : Case No. 24-cv-06089-JMA-AYS
                             Plaintiffs,                         :
                                                                 :
                    -against-                                    :
                                                                 :
  IOV LABS LIMITED, RIF LABS LIMITED, RSK : RULE 7.1 CORPORATE
  LABS         LIMITED,          DIEGO          GUTIERREZ : DISCLOSURE STATEMENT
  ZALDIVAR, and ALEJANDRO MARIA ABERG :
  COBO a/k/a ALEX COBO,                                          :
                                                                 :
                             Defendants.                         :
                                                                 :
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           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff SDN Limited, by

  and through its undersigned counsel, hereby discloses that Plaintiff SDN Limited has no parent

  corporation and no publicly held corporation owns 10% or more of its stock.

  Dated: New York, New York
         September 3, 2024
                                                        LOEB & LOEB LLP


                                                        By:    /s/ John A. Piskora
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